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 6

 7    Attorney for Defendant CITY OF CALEXICO

 8
                                  UNITED STATES DISTRICT COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA
10

11   JUAN GARCIA                             )               No. ’12CV0087 W JMA
                                             )
12         Plaintiff,                        )               DEFENDANT CITY OF CALEXICO’S
                                             )               MEMORANDUM OF POINTS AND
13         vs.                               )               AUTHORITIES IN SUPPORT OF
                                             )               MOTION FOR JUDGMENT ON THE
14   CITY OF CALEXICO, a municipality;       )               PLEADINGS PURSUANT TO FED. R.
     VICTOR CARILLO, individually and in his )               CIV. PRO. 12(c)
15   capacity as City Manager of the City of )
     Calexico; and DOES 1-10, Inclusive,     )               DATE: October 15, 2012
16                                           )               COURTROOM: 7
           Defendants.                       )
17                                           )               No Oral Argument Pursuant to
                                             )               Local Rule 7.1(d)(1)
18                                           )
                                             )
19

20          Defendant CITY OF CALEXICO (hereinafter "City") submits the following

21   Memorandum of Law in support of its Motion for Judgment on the Pleadings, pursuant
22   to Fed. R. Civ. P. 12(c).
23
                                                         I
24
                                                    INTRODUCTION
25
            On January 11, 2012, Plaintiff JUAN GARCIA (hereinafter referred to as
26

27   “Garcia”), a former police officer employed by the City of Calexico, filed his complaint

28   34283                                1
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 1   for damages in the United States District Court, Southern District of California, and
 2   named the City and former City Manager Victor Carrillo, who has not yet been served in
 3
     this case, as defendants. A true and correct copy of Garcia’s complaint is filed
 4
     concurrently herewith as Exhibit “1”.
 5
            Garcia’s complaint asserts causes of action against all defendants for invasion of
 6

 7   privacy under: (1) 42 U.S.C. § 1983; and (2) Article 1, § 1 of the California Constitution.

 8   (Exhibit 1, ¶¶ 1 & 21). Specifically, Garcia alleges that the defendants “disseminat[ed]

 9   and caus[ed] to be published a confidential personnel document, which contained
10
     sensitive and intimate personal information of no public concern.” (Exhibit 1, ¶ 21). The
11
     document which defendants purported to disseminate was a Notice of Termination
12
     letter containing “several criminal allegations against Plaintiff which had allegedly
13
     occurred during off-duty hours, a recounting of Plaintiff’s confidential meeting with his
14

15   superiors regarding the allegations, and the City’s purported reasons for terminating

16   Plaintiff.” (Exhibit 1, ¶ 10). These minimal facts comprise the basis of Garcia’s federal
17   claims of invasion of privacy against the City.
18
                                                  II
19
                     LEGAL STANDARDS REGARDING FRCP RULE 12(c)
20
            Federal Rule of Civil Procedure (hereinafter "FRCP") 12(c) provides that: “[a]fter
21

22   the pleadings are closed – but early enough not to delay trial – a party may move for

23   judgment on the pleadings.” “A motion for judgment on the pleadings pursuant to Rule

24   12(c) challenges the legal sufficiency of the opposing party’s pleadings.” Wetlands
25
     Water Dist. v. Bureau of Reclamation, 805 F. Supp. 1503, 1506 (E.D. Cal. 1992). Any
26

27

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 1   party may move for judgment on the pleadings after the pleadings are closed but within
 2   such time as to not delay trial.
 3
             The standard for evaluating a motion for judgment on the pleadings is
 4
     essentially the same as the standard applied to a Rule 12(b)(6) motion. Dworkin v.
 5
                                                        th
     Hustler Magazine, Inc., 867 F.2d 1188, 1192 (9 Cir. 1989). A motion for judgment on
 6

 7   the pleadings should be granted if, accepting as true all material allegations contained

 8   in the non-moving party’s pleadings, the moving party “’clearly establishes that no

 9   material issue of fact remains to be resolved and that he [or she] is entitled to judgment
10
     as a matter of law.’” Doleman v. Meiji Mut. Life Ins. Co., 727 F.2d 1480, 1482 (9th Cir.
11
     1984) (quoting Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure
12
     § 1368 (1969)); Hal Roach Studios, Inc. v. Richard Feiner & Co., Inc., 896 F.2d 1542,
13

14   1550 (9th Cir. 1989).

15          Judgment on the pleadings is also proper when there is either a “lack of

16   cognizable legal theory” or the “absence of sufficient facts alleged under a cognizable
17   legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988) (in the
18
     context of a Rule 12(b)(6) motion). “To avoid a dismissal, a complaint must contain
19
     factual matter, accepted as true, to state a claim to relief that is plausible on its face.”
20
     Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009). “A claim has facial plausibility when the
21

22   plaintiff pleads factual content that allows the court to draw the reasonable inference

23   that the defendant is liable for the misconduct alleged.” Id. In addition, a Court is not

24   required “to accept as true allegations that are merely conclusory, unwarranted
25
     deductions of fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 53 F.3d
26
     1049, 1056-57 (9th Cir. 2001).
27

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 1                                                 III
 2                                           ARGUMENT
 3
     A.     GARCIA’S COMPLAINT FAILS TO ALLEGE FACTS SUFFICIENT TO
 4          SUPPORT A CLAIM FOR CONSTITUTIONAL VIOLATIONS

 5          Garcia pleads that his right to privacy was violated by the City under the First,

 6   Third, Fourth, Ninth and Fourteenth Amendments. (Exhibit 1, ¶¶ 1 & 21). As discussed
 7   in greater detail below, Garcia’s allegations that the City purportedly disseminated a
 8
     Notice to Terminate letter to various third parties fails to support an invasion of privacy
 9
     claim under any provisions of the United States Constitution.
10
            1.     First Amendment Claims
11

12          In order to state a claim for violation of his rights and privileges under the First

13   Amendment, Garcia must show: (1) he engaged in speech or conduct protected under

14   the First Amendment; (2) the defendant took action against the plaintiff; and (3) the
15
     plaintiff’s protected speech or conduct or the chilling of the plaintiff’s speech or conduct
16
     was a substantial motivating factor for the defendant’s action. See Sloman v. Taslock,
17
                                th
     21 F.3d 1463, 1469-70 (9 Cir. 1994) (articulating the general elements of a First
18
                                                                                  th
     Amendment claim); Awabdy v. City of Adelanto, 368 F.3d 1062, 1071 (9 Cir. 2004)
19

20   (applying the elements articulated in Sloman as pleading requirements).

21          In the present case, Garcia has failed to plead any facts whatseover alleging that
22   he engaged in speech or conduct protected under the First Amendment or that any of
23
     the City’s actions were motivated by Garcia’s protected speech or conduct or the
24
     chilling of the Plaintiff’s speech or conduct. Therefore, any claim brought under § 1983
25
     based upon the First Amendment must be dismissed.
26

27   ///

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 1          2.     Third Amendment Claim
 2          The Third Amendment provides that: “[n]o soldier shall, in time of peace be
 3
     quartered in any house, without the consent of the owner, nor in time of war, but in a
 4
     manner to be prescribed by law.” While the Third Amendment was designed to assure
 5
     a fundamental right of privacy, Griswold v. Connecticut, 381 U.S. 479, 484 (1965), it is
 6
                                                                                             nd
 7   a provision rarely invoked in federal courts. Engblom v. Carey, 677 F.2d 957, 962 (2

 8   Cir. 1982). Clearly, the facts alleged in Garcia’s Complaint do not give rise to any cause

 9   of action under this provision against the City.
10
            3.     Fourth Amendment Claim
11
            The Fourth Amendment guarantees citizens the right “to be secure in their
12
     persons, houses, papers, and effects, against unreasonable searches and seizures.”
13

14   (See the Constitution of the United States, Amend. 4.) Garcia’s complaint comprises

15   29 paragraphs, yet all of which are completely devoid of any facts alleging any kind of

16   unlawful search or seizure on the part of the City depriving Garcia of his reasonable
17   expectation of privacy. Thus, Garcia’s cause of action under the Fourth Amendment
18
     must fail.
19
            4.     Ninth Amendment Claim
20
            The Ninth Amendment states that “[t]he enumeration in the Constitution, of
21

22   certain rights, shall not be construed to deny or disparage others retained by the

23   people.” In United States v. Choate, 576 F.2d 165, 181, (9th Cir. 1978), the Court noted

24   that “the cases which recognize the right to privacy at least partially on Ninth
25
     Amendment grounds, have been described as neatly categorized into matters involving
26
     family and procreational activities.” Rights under the Ninth Amendment are only those
27

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 1   "so basic and fundamental and so deep-rooted in our society" to be truly "essential
 2   rights," and which nevertheless, cannot find direct support elsewhere in the
 3
     Constitution. Griswold v. Connecticut, 381 U.S. 479, 488-489 (1965).
 4
            In addition, the Ninth Amendment "'does not create substantive rights beyond
 5
     those conferred by governing law.'" See Martinez-Rivera v. Ramos, 498 F.3d 3, 9 (1st
 6

 7   Cir. 2007) (quoting Vega-Rodriguez v. Puerto Rico Tel. Co., 110 F.3d 174, 182 (1st Cir.

 8   1997)); Onyiuke v. N.J. State Supreme Court, 242 Fed. Appx. 794, 797 (3d Cir. 2007)

 9   (concluding that "the Ninth Amendment does not provide an independent basis for
10
     asserting a civil rights claim; rather a section 1983 claim must be premised on a specific
11
     constitutional guarantee.")
12
            The minimal facts alleged in Garcia’s Complaint do not involve family or
13

14   procreational activities, nor do they provide any explanation of the particular substantive

15   and unenumerated rights the City has allegedly violated. Thus, Garcia cannot

16   successfully bring a claim for informational invasion of privacy under the Ninth
17   Amendment.
18
            5.     Fourteenth Amendment Claim
19
            The complaint further alleges that the City violated Garcia’s rights under the
20
     Fourteenth Amendment. The due process clause of the Fifth Amendment, that “[n]o
21

22   person shall…be deprived of life, liberty, or property, without due process of law…” is

23   made applicable to the states through the Fourteenth Amendment, which states

24   explicitly: “nor shall any State deprive any person of life, liberty or property, without due
25
     process of law; nor deny to any person within its jurisdiction the equal protection of the
26
     laws.” Yet again, Garcia fails to allege any facts of how he was deprived of his life,
27

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 1   liberty or property without due process of law. Furthermore, it is unclear if Garcia is
 2   alleging a claim for violation of procedural or substantive due process.
 3
            In alleging a claim for a violation of procedural due process, two basic elements
 4
     must be pled: (1) deprivation of a protected interest, (2) by means of inadequate
 5
     procedures. Paratt v. Taylor, 451 U.S. 527, 537 (1981). Substantive due process under
 6

 7   the Fourteenth Amendment “forbids the government from depriving a person of life,

 8   liberty or property in such a way that shocks the conscience or interferes with rights

 9   implicit in the concept of ordered liberty.” Nunez v. City of Los Angeles, 147 F.3d 867,
10
     871 (9th Cir. 1998), quoting United States v. Salerno, 481 U.S. 739, 746 (1987). As a
11
     threshold matter, then, when making a substantive due process claim, the plaintiff must
12
     show a “government deprivation of life, liberty, or property.” Id. at 871.
13

14          As discussed below, Garcia cannot establish that the right to informational

15   privacy is a “protected interest.” In addition, because the complaint does not contain

16   any facts wherein the City deprived him of his life, liberty or property, Garcia’s claims
17   fail under the Fourteenth Amendment.
18
     B.     GARCIA’S COMPLAINT FAILS TO ALLEGE FACTS SUFFICIENT TO
19          SUPPORT A CLAIM FOR CIVIL RIGHTS VIOLATIONS UNDER 42 U.S.C. §
            1983
20
            42 U.S.C. § 1983 “is not itself a source of substantive rights, but merely provides
21

22   a method for vindicating federal rights elsewhere conferred.” Graham v. Connor, 490

23   U.S. 386, 393-94 (1984). Traditionally, the requirements for relief under § 1983 have
24   been articulated as: (1) violation of rights protected by the Constitution or created by
25
     federal statute, (2) proximately caused, (3) by conduct of a person, (4) acting under
26
     color of state law. Crumpton v. Gates, 947 F.2d 1418, 1420 (9th Cir. 1991). As
27

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 1   previously discussed, based on the facts pled in his complaint, Garcia cannot
 2   successfully assert violations of his right to privacy under the First, Third, Fourth, Ninth
 3
     or Fourteenth Amendment. In addition, Garcia cannot even establish that the right to
 4
     informational privacy is clearly protected under the United States Constitution.
 5
            1.      There is No Explicit Right to Informational Privacy in the United States
 6

 7   Constitution

 8          The Ninth Circuit Court has held that “[t]he existence and scope of a

 9   constitutional right to informational privacy is far from crystal clear.” O’Phelan v. Loy,
10
     2011 U.S. Dist. LEXIS 17384 (D. Haw., Dec. 23, 2010). While it appears that the Ninth
11
     Circuit recognizes a limited constitutional right of informational privacy, Courts have
12
     held that “the mere fact that the allegedly tortious conduct was performed by a state
13
     actor does not support its characterization as a constitutional wrong.” Davis v. Bucher,
14

15   853 F.2d 718, 720 (9th Cir. 1988). Thus, Supreme Court and Ninth Circuit authority

16   demonstrate that the constitutional right to informational privacy is murky, at best. See
17   NASA v. Nelson, 131 S.Ct. 746 (2011).
18
            In addition, in Seaton v. Mayberg, 610 F.3d 530, 539 (2010), the Court suggests
19
     that the right to information privacy is a narrow one, limited only to fundamental rights
20
     such as “matters relating to marriage, procreation, contraception, family relationships,
21

22   and child rearing and education.” Moreover, in Olivera v. Vizzusi, 2011 U.S. Dist. LEXIS

23   38970 (E.D. Cal., March 31, 2011), the district court held that although “the Constitution

24   protects an individual interest in avoiding disclosure of personal matters… the courts
25
     have construed this right narrowly, limiting it to those rights which are fundamental or
26
     implicit in the concept of ordered liberty.”
27

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 1          Thus, case law strongly supports Garcia’s inability to assert a violation of his
 2   federal constitutional right to informational privacy because the actions complained of
 3
     against the City do not rise to the level of the personal privacy rights that are
 4
     “fundamental” or “implicit in the concept of ordered liberty.” Id. Even taken in the light
 5
     most favorable to Garcia, the allegation that the City disseminated a Notice of
 6

 7   Termination letter to various third-parties is far afield from the line of decisions providing

 8   a substantive due process right to personal privacy in the areas of marriage,

 9   procreation, contraception, family relationships, and child rearing and education.
10
            2.     Liability against the City under Monell
11
            Garcia further attempts to assert liability against the City by pleading in his
12
     Complaint that defendants acted “pursuant to a policy, practice, and/or custom of the
13
     City.” (Exhibit 1, ¶ 22). In Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690-91 (1978),
14

15   the Supreme Court held that a municipality cannot be liable under § 1983 on a

16   respondeat superior theory. Rather, liability only attaches where the municipality itself
17   causes the constitutional violation through a “policy or custom, whether made by its
18
     lawmakers or those whose edicts or acts may fairly be said to represent official policy.”
19
     Id. at 694.
20
             To establish an official policy or custom sufficient for liability, a plaintiff must
21

22   prove the deprivation of a federally protected right by: (1) an employee acting under an

23   expressly adopted official policy; (2) an employee acting pursuant to a longstanding

24   practice or custom; (3) an employee acting as a “final policymaker”; or (4) an employing
25
     as a result of inadequate training due to the municipality’s deliberate indifference to
26
     individual rights. Delia v. City of Rialto, 621 F.3d 1069, 1081-82 (9th Cir. 2010); Webb v.
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                                          th
  1   Sloan, 330 F.3d 1158, 1163-64 (9 Cir. 2003); Merritt v. County of L.A., 875 F.2d 765,
  2         th
      770 (9 Cir. 1989).
  3
             As discussed above, Garcia fails to establish that there was a clear, federally
  4
      protected right with respect to the alleged dissemination of the Notice to Terminate
  5
      letter. Moreover, he has utterly failed to establish the existence of any policy adopted
  6

  7   and promulgated by the City, or failed to establish a permanent and well-settled practice

  8   constituting a custom that Victor Carrillo followed in allegedly releasing Garcia’s

  9   Termination Letter. Instead, he relies on conclusory and unwarranted allegations in an
10
      attempt to manufacture liability against the City.
11
             While Garcia may be embarrassed about the alleged disclosure of the Notice of
12
      Termination letter and the facts contained therein, the Constitution simply does not
13
      provide "a free-standing right not to have the world know bad things about you." Nelson
14

15    v. NASA, 568 F.3d 1028, 1053 (9th Cir. 2009). Thus, Garcia’s claims against the City

16    under Monell and for invasion of privacy under 42 U.S.C. § 1983 should be dismissed.
17    C.     GARCIA’S CLAIMS FOR PUNITIVE DAMAGES SHOULD BE DISMISSED
18
             Garcia’s complaint seeks an award of punitive damages by contending that the
19
      defendants “acted despicably, with the intent to harm, oppress and deprive Plaintiff of
20
      his rights under the United States Constitution, and with a reckless and callous
21

22    indifference to those rights.” (Exhibit 1, ¶ 23). However, it is well-settled that a

23    municipality is “immune from punitive damages under 42 U.S.C. § 1983.” City of
24    Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981). Therefore, Garcia’s claims
25
      for punitive damages against the City should be dismissed.
26
      ///
27

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  1                                               IV.
  2
                                   GARCIA’S STATE LAW CLAIMS
  3
             Should this Court grant the City’s Motion for Judgment on the Pleadings, the City
  4
      requests this Court dismiss Garcia’s remaining state law claims. Where all federal
  5
      claims are dismissed in an action containing both federal and state law claims, a federal
  6

  7   court may decline to exercise supplemental jurisdiction over the remaining state law

  8   claims. 28 U.S.C. s 1367(c)(3); Notrica v. Board of Supervisors, 925 F.2d 1211, 1213-
  9   14 (9th Cir. 1991). Plaintiff may properly pursue his California law claims arising out of
10
      both the termination of his employment and the alleged dissemination of the Notice of
11
      Termination letter in state court.
12
                                                  V.
13

14                                          CONCLUSION

15           The City respectfully requests that its motion for judgment on the pleadings be

16    granted, without leave to amend, and Plaintiff’s state law claims be dismissed for lack of
17
      supplemental jurisdiction.
18

19    DATED: August 20, 2012                    GIBBS & FUERST
20
                                                By:     s/Michael T. Gibbs___________
21
                                                        MICHAEL T. GIBBS
22                                                      STEVEN A. TISI
                                                        Attorneys for Defendant
23                                                      CITY OF CALEXICO
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